Dear Auditor Montee:
This office received your letter of July 5, 2007, submitting a fiscal note and fiscal note summary prepared under Section 116.175, RSMo, for an initiative petition, submitted by Tim Asher and the Missouri Civil Rights Initiative regarding a proposed constitutional amendment to Article I, Section 34. The fiscal note summary that you submitted is as follows:
  The total cost or savings to state and local governmental entities is unknown. Most state governmental entities estimate no costs or savings, however, costs or savings related to future contracts are unknown. Some local governments estimate no costs or savings, but prohibition of certain municipal policies may result in unknown costs.
Under Section 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Very truly yours,
  JEREMIAH W. (JAY) NIXON Attorney General